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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

HECTOR HERNANDEZ                     *
                                     *
And                                  *
                                     *
OSCAR AGUILAR PANAMENO               *
1301 Cresthaven Drive                *
Silver Spring, Maryland 20903        *
                                     *
        PLAINTIFFS                   *
                                     *
        v.                           *    Case No.: 16-1832 (RC)
                                     *
THE CRAFTSMEN GROUP, INC.            *
                                     *
        DEFENDANT.                   *
************************************************************************
                         FIRST AMENDED COMPLAINT

       Plaintiffs Hector Hernandez and Oscar Aguilar Panameno (together, “Plaintiffs”),

by and through their undersigned counsel, hereby submit First Amended Complaint

against The Craftsmen Group, Inc. (“Defendant”) to recover damages under the Federal

Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201 et seq. (“FLSA”); the

D.C. Minimum Wage Act Revision Act of 1992, D.C. Code §§ 32-1001 et seq.

(“DCMWA”); and the D.C. Wage Payment and Wage Collection Act, D.C. Code §§ 32-

1301 et seq. (“DCWPA”) as set forth below.

                           PARTIES AND JURISDICTION

       1.      Plaintiffs are adult residents of the State of Maryland and the

Commonwealth of Virginia. By acting as the named Plaintiffs in this action, Plaintiffs do

hereby affirm their consent to participate as Plaintiffs in an action seeking damages under

the FLSA, DMCWA, DCWPA, and for all other relief sought herein.

       2.      Defendant is a corporation formed under the laws of the District of
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Columbia and more than fifty percent (50%) of Plaintiffs’ job duties giving rise to this

action occurred in the District of Columbia.

       3.      At all times relevant, Defendant was Plaintiffs’ “employer” for purposes

of the FLSA, DCMWA, DCWPA.

       4.      During Plaintiffs’ employment, Defendant utilized goods and tools that

crossed state lines in the performance of its business operation and was otherwise

engaged in commerce or in the production of goods for commerce within the meaning of

§ 3(s)(1) of the FLSA (29 U.S.C. § 203(s)(1)).

       5.      At all times relevant, Defendant had gross annual revenues exceeding

$500,000.00 and otherwise qualified as an “enterprise” within the meaning of § 3(r) of

the FLSA (29 U.S.C. § 203(r)).

       6.      At all times relevant, Plaintiffs and other employees of Defendant handled

tools and equipment that passed in interstate commerce and therefore individual

employees engaged in commerce or the production of goods for commerce as required by

29 U.S.C. §§ 206-207.

       7.      Federal Question jurisdiction is proper in this this Court is proper because

Plaintiffs seek relief under the Federal law, namely, the FLSA.

                                         FACTS

       8.      Plaintiffs were employed by Defendant performing the following job

duties for the following time periods:

               a) Hector Hernandez: Painter for the period of about January 2015

                   through about August 2016; and




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               b) Oscar Aguilar Panameno: Carpenter for the period of about January

                   2015 through about May 2015.

       9.      At all times during Plaintiffs’ employment with Defendant, Plaintiffs

signed documents with Defendant and general contractors that identified Hector

Hernandez (or individuals performing his job duties) as a painter and not for any other

job duty or classification and that identified Oscar Aguilar Panameno (or individuals

performing his job duties) as a carpenter and not for any other job duty or classification.

       10.     At all times while in Defendant’s employ, Hector Hernandez performed

exclusively painter job duties and Oscar Aguilar Panameno performed exclusively

carpenter job duties.

       11.     For more than fifty percent (50%) of Plaintiffs’ employment period with

Defendant, Plaintiffs performed painting and/or carpenter job duties at the Trump

International Hotel (Old Post Office) project in Washington, D.C. (the “Trump Project”).

       12.     The painting and/or carpenter work duties Plaintiffs performed for the

benefit of Defendant on the Trump Project was a Federal Government Contract.

       13.     For all painting and/or carpenter job duties Plaintiffs performed for the

benefit of Defendant on the Trump Project, Defendant was obligated by law and by

contract with general contractors to pay Plaintiffs at an hourly rate guaranteed for

painters and/or carpenters performing work duties in the District of Columbia on Federal

Government Contracts in conformity with the United States Department of Labor Davis

Bacon Scale.

       14.     Pursuant to the Department of Labor published scale rates and as affirmed

on contracts with general contractors, Defendant was obligated by law and by contract (to




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which Plaintiffs was a third-party beneficiary) to pay Hector Hernandez as a painter for

all non-overtime hours worked each week an hourly rate not less than $34.04 per hour

($24.89 (wages) + $9.15 (cash or fringes) = $34.04) and Oscar Aguilar Panameno as a

carpenter for all non-overtime hours worked each week at an hourly rate not less than

$37.74 per hour ($27.81 (wages) + $9.93 (cash or fringes) = $37.74).

       15.     Pursuant to the FLSA and the DCMWA, Defendant must have paid

Plaintiffs for overtime hours in excess of forty (40) each week at an hourly rate of one-

and-one-half times the required scale rate, $51.06 per overtime hour for Hector

Hernandez as a painter and $56.61 for Oscar Aguilar Panameno as a carpenter.

       16.     While employed, Defendant had knowledge that Plaintiffs often worked

more than forty (40) hours per week and did not pay Plaintiffs for all non-overtime and

overtime hours worked at the legally and contractually required scale rate due and owing

to Plaintiffs for non-overtime and overtime hours performed performing painting job

duties on the Trump Project in the District of Columbia.

       17.     Defendant paid Plaintiffs at hourly rates gradually increasing from about

$21.68 per hour to $23.00 per hour to a most recent rate of $28.09 per hour for non-

overtime hours worked each week and time-and-one-half that lower rate for overtime

hours worked each week in excess of forty (40).

       18.     Defendant did not pay Plaintiffs at the rate of one-and-one-half (1½) times

Plaintiffs’ legally and contractually required regular hourly rate for overtime hours

worked per week in excess of forty (40) for painting job duties performed on the Trump

Project in the District of Columbia.




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         19.   While employed, Plaintiffs’ exact hours worked varied slightly from week

to week.

         20.   While employed, in many weeks, Plaintiffs worked more than forty (40)

hours.

         21.     While employed, Plaintiffs often worked more than fifty (50) hours per

week.

         22.   While employed, Plaintiffs occasionally worked more than sixty (60)

hours per week

         23.   At all times, Defendant had knowledge of all hours Plaintiffs worked

including overtime hours worked in excess of forty (40).

         24.   Defendant regularly directed Plaintiffs to work more than forty (40) hours

per week.

         25.   At all times, Defendant had actual knowledge that the rates it paid

Plaintiffs for work duties performed on the Trump Project in the District of Columbia for

non-overtime and overtime hours worked each week was less than the rate contractually

guaranteed to Plaintiffs as a third-party beneficiary on the Federal Government Contract

and less than the rate guaranteed by Federal Law and District of Columbia law.

                                    CAUSES OF ACTION

                                       COUNT I
                     Violation of Federal Fair Labor Standards Act

         26.   Plaintiffs re-allege and reassert each and every allegation set forth above,

as if each were set forth herein.

         27.   While in Defendant’s employ, Defendant failed to compensate Plaintiffs

properly, and as required by the FLSA, for all overtime hours worked in excess of forty



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(40) per week.

       28.       Defendant’s failure to pay Plaintiffs as required by the FLSA was

knowing, willful and intentional, and was not in good faith.

       WHEREFORE, Defendant is liable to Plaintiffs under Count I for unpaid

overtime wages in an amount to be proven at trial, plus an equal amount in liquidated

damages, interest (both pre- and post- judgment), reasonable attorney’s fees, the costs of

this action, and any other and further relief this Court deems appropriate.

                                     COUNT II
              Violation of D.C. Minimum Wage Act Revision Act of 1992

       29.       Plaintiffs re-allege and reassert each and every allegation set forth above,

as if each were set forth herein.

       30.       While in Defendant’s employ, Defendant failed to compensate Plaintiffs

properly, and as required by the DCMWA, for all overtime hours worked in excess of

forty (40) per week on the Trump Project in the District of Columbia.

       31.       Defendant’s failure to pay compensation as required by the DCMWA was

knowing, willful and intentional, and not in good faith.

       WHEREFORE, Defendant is liable to Plaintiffs under Count II, for unpaid

overtime wages in an amount to be proven at trial, plus liquidated damages in the amount

of three times (3x) the unpaid wage amount, interest (both pre- and post-judgment),

attorney’s fees, costs, and any other and further relief this Court deems appropriate.

                                    COUNT III
              Violation of D.C. Wage Payment and Wage Collection Act

       32.       Plaintiffs re-allege and reassert each and every allegation set forth above,

as if each were set forth herein.




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        33.     Under the DCWPA, Defendant, as Plaintiffs’ employer, was obligated to

pay Plaintiffs all wages owed for work that Plaintiffs performed in the District of

Columbia.

        34.     “Wages” pursuant to DCWPA (DC Code § 32–1301(3)), “includes a: (A)

Bonus; (B) Commission; (C) Fringe benefits paid in cash; (D) Overtime premium; and

(E) Other remuneration promised or owed: (i) Pursuant to a contract for employment,

whether written or oral; (ii) Pursuant to a contract between an employer and another

person or entity; or (iii) pursuant to District or Federal law.”1

        35.     Plaintiffs worked many hours for Defendant in the District of Columbia

(more than 50% of work duties) on the Trump Project for which Defendant failed to pay

Plaintiffs all wages earned and required by contract (as a third-party beneficiary) and by

Federal and District of Columbia Law.

        36.     Defendant owes Plaintiffs back wages equal to the difference between the

rate Defendant paid Plaintiffs for hours worked on the Trump Project and the required

rates Plaintiffs were legally and contractually entitled to receive.

        37.     Defendant’s failure to pay Plaintiffs all wages due and owing as required

by the DCWPA was knowing, willful and intentional, was not the result of any bona fide

dispute between Plaintiffs and Defendant, and was not in good faith.

        WHEREFORE, Defendant is liable to Plaintiffs under Count III, for unpaid wages

in an amount to be proven at trial, plus liquidated damages in the amount of three times



1
 In a further clarification by Fiscal Year 2014 Budget Support Act of 2013; Subtitle G, DCWPA
Section 32-1305(b) has been clarified to explain, “[i]n enforcing the provisions of this act, the
remuneration promised by an employer to an employee shall be presumed to be at least the
amount required by federal law, including federal law requiring the payment of prevailing wages,
or by District law.”


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(3x) the unpaid wage amount, interest (both pre- and post-judgment), attorney’s fees,

costs, and any other and further relief this Court deems appropriate.

                                                 Respectfully submitted,

                                                 ____/s/ Gregg C. Greenberg__________
                                                 Gregg C. Greenberg, Bar No. MD17291
                                                 Zipin, Amster & Greenberg, LLC
                                                 8757 Georgia Avenue, Suite 400
                                                 Silver Spring, Maryland 20910
                                                 Phone: 301-587-9373
                                                 Fax: 301-587-9397
                                                 Email: ggreenberg@zagfirm.com

                                                 Counsel for Plaintiffs

                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 17th day of November, 2016, a true and correct
copy of the foregoing First Amended Complaint and Redline Copy was served by first-
class mail, postage pre-paid on:

       Incorp Services, Inc. c/o Jennifer Reuting
       Maryland Resident Agent: The Craftsmen Group, Inc.
       1519 York Road
       Lutherville, Maryland 21093

And

       Christian Kelleher, District of Columbia Registered Agent
       The Craftsmen Group, Inc.
       3901 Perry Street
       Brentwood, Maryland 20722

                                                     ____/s/_Gregg C. Greenberg______
                                                     Gregg C. Greenberg




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